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                       Exhibit 3
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                                 CAUSE NO. 2020-68630

DYNAMIC CRM RECRUITING                       §        IN THE DISTRICT COURT
SOLUTIONS, LLC                               §
     Plaintiff                               §
                                             §
v.                                           §        198th JUDICIAL DISTRICT
                                             §
UMA EDUCATION, INC d/b/a                     §
ULTIMATE MEDICAL ACADEMY                     §
     Defendant.                              §        HARRIS COUNTY, TEXAS



                          INDEX OF MATTERS BEING FILED


A.     Executed Process on UMA
B.     Plaintiff Dynamic CRM Recruiting Solutions, LLC’s Original Petition
C.     Docket Sheet in State Court Action
D.     List of all counsel of record
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                                 EXHIBIT 3-A
     Case 4:21-cv-01259 Document 1-3 Filed on 04/15/21 in TXSD Page 5 of 17 10/26/2020 12:04 PM
                                                                   Marilyn Burgess - District Clerk Harris County
                                                                                        Envelope No. 47517117
                                                                                                 By: Lisa Thomas
                                                                                     Filed: 10/26/2020 6:42 AM

                            CAUSE NO. _______________

DYNAMIC CRM RECRUITING                         §     IN THE DISTRICT COURT
SOLUTIONS, LLC                                 §
        Plaintiff                              §
                                               §
V.                                             §     _____ JUDICIAL DISTRICT
                                               §
UMA EDUCATION, INC. D/B/A                      §
ULTIMATE MEDICAL ACADEMY                       §
        Defendant                              §     HARRIS COUNTY, TEXAS


                      PLAINTIFF’S ORGINIAL PETITION AND
                     APPLICATION FOR INJUNCTIVE RELIEF

TO THE HONORABLE JUDGE OF THE COURT:

       Plaintiff Dynamic CRM Recruiting Solutions, LLC (“DCRS”) files, pursuant

to TEX. R. CIV. P. 47, and 78, Plaintiff’s Original Petition and Application for

Injunctive Relief and, in support thereof, shows as follows:

                                        I.
                              Discovery Control Plan

       Plaintiff intends discovery to be conducted, pursuant to TEX. R. CIV. P.190.2,

by Rule (Level 2).

                                      II.
                             Monetary Relief Sought

       Plaintiff seeks monetary relief over $1,000,000.00 and injunctive relief.

                                         III.
                                       Parties

       Plaintiff DCRS is a Texas Limited Liability Company with its principle place

of business located at 43 Rainey St suite 2007, Austin TX 78701.




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   Defendant UMA Educational, Inc. d/b/a Ultimate Medical Academy’s (“UMA”) is

a Florida Corporation with its principal place of business located at 3101 W Dr

Martin Luther King Jr Blvd., Tampa FL 33607. UMA may be served at its principal

place of business.

                                      VI.
                            Jurisdiction and Venue

      The Court has jurisdiction over this action and the venue of this action is

proper in Harris County, Texas because the amount in controversy is within the

minimal jurisdictional limits of the Court and the parties contractually agreed that

venue would lie in Harris County, Texas.

                                       V.
                              Factual Background

      On 21 June 2019, entered into the Agreement whereby UMA purchased the

DCRS Licenses.

      In negotiating the terms of the DCRS Licenses, UMA represented to DCRS

that it would purchase approximately five hundred (500) to seven hundred (700)

DCRS Licenses per year for a period of seven to ten (7-10) years. UMA further

represented that UMA would not: 1) decompile, reverse engineer, or otherwise

attempt to derive the source code for any Dynamics CRM Recruiting Solutions’

Applications without Dynamics CRM Recruiting Solutions expressed written

consent; 2) resell or distribute Dynamics CRM Recruiting Solutions’ Applications

without Dynamics CRM Recruiting Solutions expressed written consent; 3) use



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Dynamics ATS as a blue print to build your own ATS solution for Dynamics 365

that would circumvent the need for Dynamics ATS licenses for a period of 5 years

from the date of the Agreement; and 4) use Dynamics ATS as a blue print to build a

competitive ATS solution for Microsoft Dynamics 365.

      Based solely on UMA’s foregoing representations, DCRS agreed to discount

DCRS Licenses to UMA by sixty percent (60%). UMA agreed to purchase two

hundred (250) DCRS Licenses for $70/month/user for a period of three (3) years. The

DCRS licenses were to be renewed annually. By purchasing the DCRS Licenses,

UMA agreed to the terms and conditions of DCRS’ End User License Agreement.

UMA is still bound by the terms and conditions contained therein.

      True to its representations, in October 2019, UMA purchased an additional

two hundred forty-five (245) DCRS Licenses.

      In May 2020, UMA’s new solution architect, Alex Pechenizkiy, requested a

detailed list of all DCRS’ ATS Solution components and features and a clean install

of the ATS Solution into a new Environment. Although a strange request, DCRS

agreed to a clean install of the ATS Solution into a new Environment at no

additional charge to UMA. In conjunction with the clean install DCRS requested a

meeting with UMA to understand the need for a clean install of the ATS Solution

into a new Environment.

      DCRS met with UMA and         its architect Mr. Pechenizkiy. Therein, DCRS

asked UMA’s architect to show DCRS his work so it could understand and help to



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facilitate   that work. Mr. Pechenizkiy refused. However, he explained that he

wanted the clean install into a new Environment because he was going to be

spinning up and blowing away instances rapidly as he built on top of the ATS

Solution to meet UMA’s “go live” and wanted to understand the ATS Solution’s IP

and feature components better.

       Again, this explanation was strange as DCRS had not seen this type of

behavior from one of its customers. Typically, this indicates an attempt to rebuild

the ATS solution based on DCRS’ ATS Solution design, IP and feature set. Of course

this is in direct violation of DCRS’ End User License Agreement and completely at

odds with what UMA specifically represented it would not do.

       Against its better judgment but to go above and beyond to help UMA succeed

DCRS did yet another clean install of the ATS Solution into yet another

Environment for Mr. Pechenizkiy free of charge. DCRS has now performed two (2)

more clean installs into new Environments, at no charge, than agreed to in the

original fast track sow. Surprisingly, tongue firmly in cheek, within one (1) whole

week after completing the second clean install, UMA removed DCRS access to its

Environments. And, of course, the original environments (development, sandbox,

testing) DCRS had been working in for the entirety of the Agreement started

throwing license errors. Finally, adding insult to injury, UMA sought to cancel the

additional two hundred forty-five (245) DCRS Licenses UMA purchased in October.

As a most import and significant aside, had DCRS known UMA planned to use



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“Dynamics ATS as a blue print to build [its] own ATS solution for Dynamics 365

that would circumvent the need for [DCRS Licenses] [within] a period of five (5)

years from the date of the Agreement,” DCRS we would have unequivocally insisted

UMA purchase a DCRS developers license for a one-time fee of Four Million Five

Hundred Thousand and NO/100 Dollars ($4,500,000.00), period, no negotiation.

      DCRS views each of the forgoing as a sure sign that the Environment has

been blown away and violations of the End User License Agreement have occurred.

                                      VI.
                                Causes of Action

Breach of Agreement/Contract

      The foregoing factual paragraphs are incorporated herein in their entirety for

all purposes by reference.

      UMA’s actions constitute a clear breach of the Agreement. As a result of

UMA’s breaches, DCRS has incurred substantial damages and will continue to

incur substantial damages in the future. DCRS demands that UMA compensate

DCRS for the damages DCRS incurred as a result of UMA’s breach of the

Agreement. Moreover, DCRS demands that UMA immediately cease and desist

from further violations of the Agreement and that UMA cease and desist from

further unauthorized use of DCRS’ IP.

Fraud-Fraudulent Inducement

      The foregoing factual paragraphs are incorporated herein in their entirety for

all purposes by reference.


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      UMA’s     multiple     false,   misleading   and   repetitive   misrepresentations

constitute fraud, per se. Moreover, UMA’s misrepresentations induced DCRS into

the Agreement with UMA and induced DCRS to share its IP with UMA. As a result

of UMA’s fraud, DCRS has incurred substantial damages and will continue to incur

substantial damages in the future. DCRS demands that UMA compensate DCRS for

the damages DCRS incurred as a result of UMA’s fraud. Moreover, DCRS demands

that UMA immediately cease and desist from any further unauthorized use of

DCRS’ IP.

Conversion

      The foregoing factual paragraphs are incorporated herein in their entirety for

all purposes by reference.

      UMA and Alex Pechenizkiy have converted DCRS’ intellectual property to

their own use to the detriment of DCRS. As a result of UMA and Mr. Pechenizkiys’

conversion of DCRS’ intellectual property, DCRS has suffered damages within the

minimal jurisdictional limits of the Court. DCRS demands that UMA compensate

DCRS for the damages DCRS incurred as a result of UMA’s conversion of DCRS’

Intellectual property.

Texas Theft Liability Act/Texas Uniform Trade Secrets Act

      The foregoing factual paragraphs are incorporated herein in their entirety for

all purposes by reference.

      UMA and Alex Pechenizkiys’ unauthorized use and conversion of DCRS’



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intellectual property constitutes theft and a violation of the Texas Uniform Trade

Secrets Act. UMA and Mr. Pechenizkiys’ use of DCRS’s intellectual property also

constitutes a violation of the Texas Uniform Trade Secrets Act. As a result of UMA

and Mr. Pechenizkiys’ theft of DCRS’ intellectual property, DCRS has suffered

damages within the minimal jurisdictional limits of the Court.

Quantum Meruit

      The foregoing factual paragraphs are incorporated herein in their entirety for

all purposes by reference.

      DCRS provided services and intellectual property to UMA in its efforts to

obtain UMA’s business. To the extent those services and intellectual property are

not provided for in the Agreements, DCRS is entitled to recover from UMA in

quantum meruit.

Foreclosure of Materialman & Mechanic’s Lien

      The foregoing factual paragraphs are incorporated herein for all purposes in

their entirety by reference.

      DCRS provided services and intellectual property to UMA for which has a

statutory and constitutional lien on UMA’s software ATS solution. DCRS seeks to

foreclose on its liens and to recover the damages it incurred as a result of UMA’s

failure to pay for DCRS’ services and intellectual property.

                                       VII.
                                  Attorneys’ Fees

      DCRS is also entitled to recover, in addition to valid claims and costs,


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pursuant to TEX. CIV. PRAC. & REM. CODE ANN. §38.001, reasonable attorney’s fees

from UMA.

      DCRS has retained the undersigned attorney to prosecute their claims

against UMA `and asks the Court to award reasonable and necessary attorneys’

fees as may be proved at trial.

      Moreover, DCRS is entitled to recover attorney’s fees, pursuant to TEX. CIV.

PRAC. & REM. CODE ANN. §134.005(b) & §134A.005, from UMA.

                                   VIII.
                    Exemplary Damages/Statutory Damages

      Due to UMA’s fraudulent conduct, bad faith conversion, theft, and malicious

violation of the Texas Trade Secrets Act, DCRS is entitled to recover exemplary and

statutory damages from UMA.

                                       IX.
                        Application for Injunctive Relief

      As a result of UMA and Mr. Pechenizkiys’ conduct and Violation of the Texas

Trade Secrets Act and theft and/or unauthorized use and dissemination of DCRS’

intellectual property, DCRS is suffering irreparable injury and will continue to

suffer irreparable injury if UMA, its servants, agents, partners, officers and

employees, including Alex Pechenizkiy, are not enjoined from using or improperly

disseminating DCRS’ intellectual property. DCRS has a strong probability of

prevailing on its claims against UMA. Due to the continuing nature of the damages

and the extreme difficulty in attempting to quantify the damages in monetary



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terms, DCRS has no adequate remedy at law.                 Therefore, DCRS respectfully

requests that UMA, its servants, agents, partners, officers and employees, including

Alex Pechenizkiy, be temporarily enjoined from further use of or dissemination of

DCRS’ intellectual property and upon a trial on the merits that DCRS be

permanently enjoined from same.

                                          X.
                                 Conditions Precedent

         Plaintiff avers that all conditions precedent have occurred or been met by

Plaintiff.

                                           XI.
                                      Jury Demand

         Plaintiff demands a trial by jury.

         WHEREFORE, PPREMISES, CONSIDERED, Plaintiff Dynamic CRM

Solutions, LLC respectfully requests that Defendant UMA Education, LLC d/b/a

Ultimate Medical Academy be cited to appear and answer the allegations contained

herein and that, upon a trial on the merits, the Court enter an order whereby

Plaintiff recovers from Defendant the full value of Plaintiff’s damages incurred as a

result    of   Defendant’s   Breach    of     Contract,   Conversion,   Fraud/Fraudulent

Inducement, Theft, Violations of the Texas Trade Secrets Acts, Civil Conspiracy,

and through quantum meruit, and to foreclose on its statutory and constitutional

liens, plus prejudgment interest, post judgment interest at the maximum rate

allowed by law, exemplary damages, statutory damages along with Plaintiff’s costs,



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including reasonable and necessary attorneys’ fees, incurred in pursuing this

matter against Defendant, a temporary and permanent injunction enjoining UMA,

its servants, agents, partners, officers and employees, including Alex Pechenizkiy,

from using or disseminating DCRS’ intellectual property and granting such other

and further relief to which Plaintiff Dynamic CRM Solutions, LLC may be entitled

in law or in equity.

                               Respectfully Submitted,
                               THE MCCLEERY LAW FIRM

                               By: //S//STEPHEN E. MCCLEERY
                               Stephen E. McCleery
                               State Bar of Texas No. 00794258
                               Federal I.D. 21007
                               2121 Gostic
                               Houston, Texas 77008
                               Telephone 713/622-3555
                               Facsimile    713/224-8555

                               ATTORNEY FOR
                               PLAINTIFF DYNAMIC CRM RECRUITING
                               SOLUTIONS, LLC




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                                                       County on   04/15/21
                                                              District            in TXSD
                                                                       Clerk - Marilyn Burgess Page 15 of 17


  HCDistrictclerk.com               DYNAMIC CRM RECRUITING SOLUTIONS LLC vs.                                         4/14/2021
                                    UMA EDUCATION INC (D/B/A ULTIMATE MEDICAL
                                    ACADEM) (A FLORIDA
                                    Cause: 202068630  CDI: 7   Court: 189

  APPEALS
  No Appeals found.

  COST STATMENTS
  No Cost Statments found.

  TRANSFERS
  No Transfers found.

  POST TRIAL WRITS
  No Post Trial Writs found.

  ABSTRACTS
  No Abstracts found.

  SETTINGS
  No Settings found.

  NOTICES
  No Notices found.

  SUMMARY
   CASE DETAILS                                                   CURRENT PRESIDING JUDGE
   File Date                10/26/2020                            Court              189th
   Case (Cause) Location    Civil Intake 1st Floor                Address            201 CAROLINE (Floor: 12)
                                                                                     HOUSTON, TX 77002
   Case (Cause) Status      Active - Civil
                                                                                     Phone:7133686300
   Case (Cause) Type        HOMEOWNERS ASSOCIATION
                                                                  JudgeName          SCOT DOLLINGER
   Next/Last Setting Date   N/A
                                                                  Court Type         Civil
   Jury Fee Paid Date       10/26/2020



  ACTIVE PARTIES
  Name                                                Type                                               Post Attorney
                                                                                                         Jdgm
  DYNAMIC CRM RECRUITING SOLUTIONS LLC                PLAINTIFF - CIVIL                                          MCCLEERY,
                                                                                                                 STEPHEN
                                                                                                                 EDWARD

  UMA EDUCATION INC (D/B/A ULTIMATE                   DEFENDANT - CIVIL
  MEDICAL ACADEM) (A FLORIDA

  ULTIMATE MEDICAL ACADEMY                            DEFENDANT - CIVIL




https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=42PT43Z0PRZuSHcM91V0rvKx6tfbomx0xKVDagJWNohdv8DwujBcgc5b…   1/2
4/14/2021    Case 4:21-cv-01259 Document   1-3
                                    Office of HarrisFiled
                                                    County on   04/15/21
                                                           District            in TXSD
                                                                    Clerk - Marilyn Burgess Page 16 of 17

  INACTIVE PARTIES
  No inactive parties found.

  JUDGMENT/EVENTS
  Date  Description                               Order       Post Pgs Volume Filing                      Person
                                                  Signed      Jdgm     /Page Attorney                     Filing
  10/26/2020     JURY FEE PAID (TRCP 216)                            0
  10/26/2020     ORIGINAL PETITION                                   0              MCCLEERY,             DYNAMIC CRM
                                                                                    STEPHEN EDWARD        RECRUITING
                                                                                                          SOLUTIONS LLC


  SERVICES
  Type   Status                        Instrument Person      Requested Issued Served Returned Received Tracking Deliver
                                                                                                                 To
  CITATION   SERVICE         ORIGINAL             UMA        3/22/2021    3/23/2021 4/1/2021                       73852866     E-MAIL
  (NON-      RETURN/EXECUTED PETITION             EDUCATION
  RESIDENT                                        INC (D/B/A
  CORPORATE)                                      ULTIMATE
                                                  MEDICAL
                                                  ACADEM)
                                                  (A FLORIDA
        )3101 W DR MARTIN LUTHER KING BLVD TAMPA FL 33607



  DOCUMENTS
  Number             Document                                                                       Post Date             Pgs
                                                                                                    Jdgm
  95217810           Citation                                                                             04/08/2021      2

  94927204           Civil Process Request Form                                                           03/22/2021      2
   ·> 94927205       Petition (COPY)                                                                      03/22/2021      10

  92790915           PLAINTIFFS ORGINIAL PETITION AND APPLICATION FOR INJUNCTIVE RELIEF                   10/26/2020      10




https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=42PT43Z0PRZuSHcM91V0rvKx6tfbomx0xKVDagJWNohdv8DwujBcgc5b…      2/2
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                                CAUSE NO. 2020-68630

 DYNAMIC CRM RECRUITING                    §       IN THE DISTRICT COURT
 SOLUTIONS, LLC                            §
      Plaintiff                            §
                                           §
 v.                                        §       198th JUDICIAL DISTRICT
                                           §
 UMA EDUCATION, INC d/b/a                  §
 ULTIMATE MEDICAL ACADEMY                  §
      Defendant.                           §       HARRIS COUNTY, TEXAS



                               COUNSEL OF RECORD


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                                     EXHIBIT 3-D
